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CLERK, U. S. DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

UNITED STATES DISTRICT COURT JACKSONVILLE, FLORIDA
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

v. CASE NO.  3:08-cr- A¥L- )- IOKITS
18 U.S.C. §§ 1071, 3147
EVGENY TALISOV

INDICTMENT

The Grand Jury charges:

COUNT ONE

From a date unknown but sometime after April 17, 2008, and continuing
up to and including August 4, 2008, in Duval County, in the Middle District of Florida,

and elsewhere,
EVGENY TALISOV,

the defendant herein, while on pretrial release pursuant to an order dated March 20,
2008 in Case No. 3:08-cr-96-J-32HTS, harbored and concealed Yuliya S.
Piskovaya, a person for whose arrest a warrant had been issued under the laws of
the United States, so as to prevent her discovery and arrest, after notice and
knowledge of the fact that a warrant had been issued for the apprehension of said

person.

In violation of Title 18, United States Code, Section 1071 and Title 18,

United States Code, Section 3147(1).
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A TRUE BILL,

Thar. C. Amcth

Foreperson

 

ROBERT E. O’NEILL
United States Attorney

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RONALD D. DESANTIS
Special Assistant United States Attorney

 

 

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FRANK M. TALBOR_7
Assistant United States Attorney
Deputy Chief, Jacksonville Division
 

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